                  Case 4:19-cv-04073-JST Document 46 Filed 07/29/19 Page 1 of 3




     JOSEPH H. HUNT
 1
     Assistant Attorney General
 2   SCOTT G. STEWART
     Deputy Assistant Attorney General
 3   WILLIAM C. PEACHEY
     Director
 4
     EREZ REUVENI
 5   Assistant Director
     Office of Immigration Litigation
 6   U.S. Department of Justice, Civil Division
 7   P.O. Box 868, Ben Franklin Station
     Washington, DC 20044
 8   Tel: (202) 307-4293
     Email: Erez.R.Reuveni@usdoj.gov
 9   PATRICK GLEN
10   Senior Litigation Counsel

11                                   UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
13
                                                  )
14    East Bay Sanctuary Covenant, et al.,        )
                                                  )
15                       Plaintiffs,              )
16                                                )
                                                  )        NOTICE OF APPEAL
17                                                )
      v.                                          )        Civil Action No. 1:19-cv-04073-JST
18
      William Barr, et al.,                       )
19                                                )
                         Defendants.              )
20                                                )
21
22             Defendants hereby appeal from the Court’s Order entered July 24, 2019 (ECF No. 42), in
23   the above-captioned case to the United States Court of Appeals for the Ninth Circuit.
24   //
25   //
26   //
27   //
28   //


     NOTICE OF APPEAL
     East Bay Sanctuary v. Barr,
     Case No. 1:19-cv-04073-JST
                  Case 4:19-cv-04073-JST Document 46 Filed 07/29/19 Page 2 of 3




                                             Respectfully submitted,
 1
 2                                           JOSEPH H. HUNT
                                             Assistant Attorney General
 3
                                             SCOTT G. STEWART
 4
                                             Deputy Assistant Attorney General
 5
                                             WILLIAM C. PEACHEY
 6                                           Director
 7
                                          By: /s/ Erez Reuveni
 8                                           EREZ REUVENI
                                             Assistant Director
 9                                           Office of Immigration Litigation
10                                           U.S. Department of Justice, Civil Division
                                             P.O. Box 868, Ben Franklin Station
11                                           Washington, DC 20044
                                             Tel: (202) 307-4293
12                                           Email: Erez.R.Reuveni@usdoj.gov
13
                                             PATRICK GLEN
14                                           Senior Litigation Counsel
15   Dated: July 29, 2019                    Attorneys for Defendants
16
17
18
19
20
21
22
23
24
25
26
27
28


     NOTICE OF APPEAL
     East Bay Sanctuary v. Trump,               1
     Case No. 1:19-cv-04073-JST
                  Case 4:19-cv-04073-JST Document 46 Filed 07/29/19 Page 3 of 3




 1                                     CERTIFICATE OF SERVICE
 2             I hereby certify that on July 29, 2019, I electronically filed the foregoing document with
 3   the Clerk of the Court for the United States Court of for the Northern District of California by
 4   using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be
 5   accomplished by the CM/ECF system.
 6
                                        By: /s/ Erez Reuveni
 7
                                            EREZ REUVENI
 8                                          Assistant Director
                                            United States Department of Justice
 9                                          Civil Division
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     NOTICE OF APPEAL
     East Bay Sanctuary v. Trump,                      2
     Case No. 1:19-cv-04073-JST
